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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY
INC., et al.,
          Plaintiffs,                    CIVIL ACTION

      v.                                 FILE NO. 1:21-CV-05337-SCJ

BRAD RAFFENSPERGER,
       Defendant.

COAKLEY PENDERGRASS, et al.,
      Plaintiffs,
                                         CIVIL ACTION
      v.
                                         FILE NO. 1:21-CV-05339-SCJ
BRAD RAFFENSPERGER, et al.,
       Defendants.

ANNIE LOIS GRANT, et al.,
       Plaintiffs,
                                         CIVIL ACTION
      v.
                                         FILE NO. 1:22-CV-00122-SCJ
BRAD RAFFENSPERGER, et al.,
       Defendants.


     DEFENDANTS’ NOTICE OF CONSTITUTIONAL QUESTION

     Pursuant to Federal Rule of Civil Procedure 5.1(a) and the Court’s

Orders entered in these actions on October 4, 2023 (Alpha Phi Alpha Doc. No.

[320]; Grant Doc. No. [281]; Pendergrass Doc. No. [273]), Defendants in the

above-styled actions hereby file a notice of constitutional question. The
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question, as stated by Defendants in the Pretrial Order filed in these cases

(Alpha Phi Alpha Doc. No. [280], pp. 23–24; Grant Doc. No. [243], p. 26;

Pendergrass Doc. No. [231], pp. 28–29) is:

       1. “Defendants assert that finding for Plaintiffs requires interpreting

          the Voting Rights Act in a way that calls its constitutionality into

          question, because the Voting Rights Act’s inherently race-based

          remedies are not justified by present conditions and are not congruent

          and proportional to the exercise of congressional power under the

          Fourteenth and Fifteenth Amendments.”

       2. “To grant the relief Plaintiffs seek, the Court must interpret the

          Voting Rights Act in a way that violates the U.S. Constitution.”



       Defendants will serve this notice, as well as the Pretrial Order entered

in these cases, on the Attorney General of the United States. See Fed. R. Civ.

P. 5.1(a)(2). 1




1 Defendants had not previously served a notice pursuant to Fed. R. Civ. P.

5.1(a)(2) because their claim regarding the constitutionality of the Voting
Rights Act is an alternative claim and Defendants assert they should prevail
on a proper interpretation of the Gingles preconditions and the totality of the
circumstances.

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This 10th day of October, 2023.

                                  Respectfully submitted,

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                                 Atlanta, GA 30339
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                                 Counsel for Defendants




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                    CERTIFICATE OF COMPLIANCE

     Pursuant to L.R. 7.1(D), the undersigned certifies that the foregoing

Notice have been prepared in Century Schoolbook 13, a font and type selection

approved by the Court in L.R. 5.1(B).

                                         /s/ Bryan P. Tyson
                                         Bryan P. Tyson
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                       CERTIFICATE OF SERVICE

      I hereby certify that on October 10, 2023, a true and correct copy of the

foregoing was served by transmission of Notice of Electronic Filing generated

by CM/ECF to all counsel of record as of issuance of filing and by certified mail

and by overnight delivery to the Attorney General of the United States at the

following address:

      Attorney General of the United States
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, DC 20530-0001

                                           /s/ Bryan P. Tyson
                                           Bryan P. Tyson
